Case 6:17-cv-01531-CEI\/|-G.]K Document 20 Filed 10/23/17 Page 1 of 1 Page|D 64

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
PHILIP NIGRO,
Plaintiff,
CASE NO.: 6:]7-CV-153l-ORL-4l GJK
_VS_

BANK OF AMERICA, N.A.,

Defendant.
/

NOTICE OF SETTLEMENT

Plaintiff, Philip Nigro, by and through the undersigned counsel, hereby notifies the Court that the
parties have reached a settlement With regard to this case and are presently drafting and tinalizing the
settlement agreement, and general release or documents Upon execution of the same, the parties will tile
the appropriate dismissal documents with the Court.

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and correct copy Of the foregoing has been furnished to Anna
Haugen, Esquire, 50N. Laurel Street, Suite 300, Jacksonville FL 32202 via Email on this 23rd day of
October, 2017; ahaugen@mcguirewoods.com; stobias@mcg;lirewoods.com;
agershen@mcguirewoods.com.

/s/ Amy Ferrera

 

Amy Ferrera, Esquire

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th FloOr
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
amferrera@forthepeople.com
afloyd@forthepeople.com
Florida Bar #: 15313

Attomey for Plaintiff

 

